O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:     5:98CR192-3
                        Charles Edward Coffey                               )
                                                                              USM No:      13674-058
                                                                            )
Date of Original Judgment:     August 20, 1999
                                                                            )
Date of Last Amended Judgment: April 17, 2009                                 Federal Defender
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 188 months        is reduced to time served plus 10 days

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    35                Amended Offense Level:     31
Criminal History Category: IV                Criminal History Category: IV
Original Guideline Range:  235 to 293 months Amended Guideline Range: 151 to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Since the defendant has already served the low end of the guideline range, the sentence is reduced to
                    time served, plus 10 days.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      August 20, 1999       shall remain in effect.
IT IS SO ORDERED .

Order Date:          November 18, 2011


Effective Date:
                       (if different from order date)




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